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     Sacramento, California 95814
 3   Telephone: (916) 446-3331
 4   Attorney for Defendant
     DIANA HERNANDEZ-GONZALEZ
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                     )
                                                   )
12                              Plaintiff,         )        Case No. 2:11-cr-00096 JAM
                                                   )
13                  v.                             )        WAIVER OF DEFENDANT’S
                                                   )        PRESENCE;
14   DIANA HERNANDEZ-GONZALEZ,                     )        ORDER
                                                   )
15                                                 )
                                Defendant(s).      )
16                                                 )
17           The defendant, Diana Hernandez-Gonzalez, hereby waives her right to be present in open court
18   upon the hearing of any motion or other proceeding in this cause, including, but not limited to, when the
19   case is ordered set for trial, when a continuance is ordered, and when any other action is taken by the
20   court before or after trial, except upon arraignment, plea, impanelment of jury and imposition of
21   sentence. Defendant hereby requests the court to proceed during every absence of her which the court
22   may permit pursuant to this waiver; agrees that her interests will be deemed represented at all times by
23   the presence of her attorney, the same as if the defendant were personally present; and further agrees
24   to be present in court ready for trial any day and hour the court may fix in her absence.
25           Defendant further acknowledges that she has been informed of her rights under Title 18
26   ////
27   ////
28   ////


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 1   U.S.C. Sections 3161 - 3174 (Speedy Trial Act), and has authorized her attorney to set times and delays
 2   under the provisions of that Act without defendant being present.
 3   Dated: March 21, 2011
 4                                                         /s/ Diana Hernandez-Gonzalez
                                                           DIANA HERNANDEZ-GONZALEZ
 5                                                         Defendant
 6
     APPROVED:
 7
 8   /s/ Hayes H. Gable, III
     HAYES H. GABLE, III
 9   Attorney for Defendant
10
     DATED: 3/21/2011
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12   IT IS SO ORDERED:
13
14   /s/ John A. Mendez
     HON. JOHN A. MENDEZ
15   U.S. District Court Judge
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